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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:
                                                            Chapter 11
RCS CAPITAL CORPORATION, et al.,
                                                            Case No. 16-10223(MFW)
                                      Debtors.1             (Jointly Administered)

RCS Creditor Trust,
                                               Plaintiff,
v.

Hospitality Investors Trust, Inc., fka American             Adv. No. 18-50169
Realty Capital Hospitality Trust, Inc.,
                                       Defendant.

                            STIPULATION EXTENDING TIME FOR
                          DEFENDANT TO RESPOND TO COMPLAINT

         Pursuant to Rule 7012-2 of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware, RCS Creditor Trust (“Plaintiff”) and

Hospitality Investors Trust, Inc., fka American Realty Capital Hospitality Trust, Inc.

(“Defendant”) hereby stipulate to extend the time within which Defendant must answer, move, or

otherwise respond to the Complaint in the above-captioned adversary proceeding by twenty-eight

(28) days, through and including April 4, 2018.



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    The “RCS Debtors” in these chapter 11 cases, along with the last four digits of their respective federal tax
identification numbers, are: RCS Capital Corporation (4716); American National Stock Transfer, LLC (3206); Braves
Acquisition, LLC (6437); DirectVest, LLC (9461); J.P. Turner & Company Capital Management, LLC (7535); RCS
Advisory Services, LLC (4319); RCS Capital Holdings, LLC (9238); Realty Capital Securities, LLC (0821); SBSI
Insurance Agency of Texas Inc. (9203); SK Research LLC (4613); Trupoly, LLC (5836); and We R Crowdfunding,
LLC (9785). The RCS Debtors' corporate headquarters and mailing address is located at 245 Parle Avenue, 39th Floor,
New York, NY 10167.

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 Dated: March 5, 2018

 ASHBY & GEDDES, P.A.                        PROSKAUER ROSE LLP

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